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                                                                                U.S. DISTf~ICT COURT
                                                                               DISTRICT OF VEHMO~H
M.T.F. Inc.                                                                            FILED
11801 Bethesda church Road
Damascus, Md. 20872                                                           2015 JAN 16 AH 10: 22
240-422-2112                                                                            CLE~\

Allen vs. Dairy Farmers of America, Inc.                                       BY
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#5:09-CV-230-CR


   MTF Inc. has shipped milk through Md.-Va. (#26487) for 80 years, through Nov.2013.
  The settlement amount would not allow any producer to recoup anywhere near the amount of
revenue lost due to the actions of DFA-DMS over many years.
  MTF would also prefer the case to go to trial as the actions of the management personel of DFA and
OMS would then become a matter of public record.
